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  Howard M. Ehrenberg
  333 South Grand Ave. Suite 3400
  Los Angeles, CA 90071
  (213) 626-2311

         Chapter 7 Trustee


                                  UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                        LOS ANGELES DIVISION

In re: D&C CARE CENTER, INC.                           §         Case No. 14-28039
                                                       §
                                                       §
                                                       §
                     Debtor(s)


                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Howard M. Ehrenberg,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                          United States Bankruptcy Court
                                               255 E. Temple Street
                                              Los Angeles, CA 90012
         A hearing on the Trustee's Final Report and Applications for Compensation will be held on March 20,
2019 at 2:00 p.m. in Courtroom 1539 of the United States Bankruptcy Court located at 255 East Temple Street,
Los Angeles, CA 90012. Any person wishing to object to any fee application that has not already been
approved, or to the Trustee's Final Report, must file a written opposition thereto pursuant to Local Bankruptcy
Rule 9013-1(f) not later than 14 days before the date designated for hearing and serve a copy of the opposition
upon the trustee, any party whose application is being challenged and, the United States Trustee. Untimely
objections may be deemed waived. In the absence of a timely objection by the United States Trustee or other
party in interest, the Court may discharge the Chapter 7 Trustee and close the case without reviewing the Final
Report and Account or determining the merits of the Chapter 7 Trustee's certification that the estate has been
fully administered. See Federal Rule of Bankruptcy Procedure 5009.
Date Mailed: 02/26/2019                                    By:: /s/ Howard Ehrenberg
                                                                                  Trustee
Howard M. Ehrenberg
333 South Grand Ave. Suite 3400
Los Angeles, CA 90071
(213) 626-2311



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   Howard M. Ehrenberg
   333 South Grand Ave. Suite 3400
   Los Angeles, CA 90071
   (213) 626-2311
               Chapter 7 Trustee




                                      UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                            LOS ANGELES DIVISION

In re:D&C CARE CENTER, INC.                                 §      Case No. 14-28039
                                                            §
                                                            §
                                                            §
                         Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                  The Final Report shows receipts of :                             $                     2,908,037.39
                  and approved disbursements of:                                   $                     1,968,861.64
                  leaving a balance on hand of1:                                   $                        939,175.75

              Claims of secured creditors will be paid as follows:

  Claim       Claimant           Claim Asserted        Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                     0.00
                                                Remaining balance:                              $               939,175.75

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - Howard M. Ehrenberg                                        94,924.78               0.00       94,924.78
  Trustee, Expenses - Howard M. Ehrenberg                                      1,314.40              0.00         1,314.40
  Attorney for Trustee Fees - SulmeyerKupetz                                242,211.00       113,198.50        129,012.50
  Attorney for Trustee, Expenses - SulmeyerKupetz                              8,880.06         4,466.35          4,413.71

          1
          The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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  Reason/Applicant                                                      Total          Interim      Proposed
                                                                    Requested      Payments to       Payment
                                                                                         Date
  Fees, United States Trustee                                         5,850.00            0.00       5,850.00
  Bond Payments - International Sureties, LTD.                        2,086.68        2,086.68             0.00
  Other State or Local Taxes (post-petition) - Franchise Tax          1,629.28            0.00       1,629.28
  Board
  Attorney for Trustee Fees (Other Firm) - Dincel Law Group,         17,460.00       17,460.00             0.00
  APC
  Accountant for Trustee Fees (Other Firm) - Wang Mi & Co.           65,667.00       50,542.00      15,125.00
  Accountant for Trustee Expenses (Other Firm) - Wang Mi &                 30.66          0.00            30.66
  Co.

                 Total to be paid for chapter 7 administrative expenses:              $             252,300.33
                 Remaining balance:                                                   $             686,875.42

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total          Interim      Proposed
                                                                    Requested      Payments to       Payment
                                                                                         Date
  Prior Chapter Trustee Compensation - Howard Ehrenberg              65,561.22            0.00      65,561.22
  Prior Chapter Trustee Expenses - Howard Ehrenberg                   1,255.40            0.00       1,255.40
  Prior Chapter Attorney for Trustee/DIP Fees (Other Firm) -         40,549.70       20,274.85      20,274.85
  Friedman Law Group, P.C.
  Prior Chapter Attorney for Trustee/DIP Expenses (Other Firm)        5,409.76        5,409.76             0.00
  - Friedman Law Group, P.C.
  Financial Consultant Fees (Chapter 11) - Wang Mi & Co.             47,041.00            0.00      47,041.00
  Financial Consultant Expenses (Chapter 11) - Wang Mi & Co.               10.08          0.00            10.08
  Administrative Rent (post-petition storage fees, leases) - F&E     79,059.33            0.00      79,059.33
  Chu Family Trust

                Total to be paid for prior chapter administrative expenses:           $             213,201.88
                Remaining balance:                                                    $             473,673.54

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $11,697.76 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim     Claimant                             Allowed Amount       Interim Payments              Proposed
  No.                                                   of Claim                to Date              Payment




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  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment
  1-5         Internal Revenue Service                     11,697.76                      0.00             11,697.76

                                                  Total to be paid for priority claims:     $              11,697.76
                                                  Remaining balance:                        $             461,975.78

               The actual distribution to wage claimants included above, if any, will be the proposed
       payment less applicable withholding taxes (which will be remitted to the appropriate taxing
       authorities).
               Timely claims of general (unsecured) creditors totaling $470,670.22 have been allowed and
       will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
       timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
       applicable).
              Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment
  2           F & W Foodservices                           45,414.17                      0.00             45,414.17
  4-2         Wescom Solutions Inc-2                         4,104.57                     0.00              4,104.57
  5           Maribel Ruiz                                 37,500.00                      0.00             37,500.00
  6           Bernard Calalang, Elise                     230,000.00              230,000.00                     0.00
              Barrientos, Rosa
  7           Wells Fargo Bank, National                  120,224.89                      0.00           120,224.89
              Association
  10          Southern California Gas                          684.73                     0.00                684.73
              Company
  11          Clinishare Pharmacy, Inc.                      7,804.70                     0.00              7,804.70
  13          Digital Archiving Systems LLC                  1,050.00                     0.00              1,050.00
  14          Verdugo Plaza Pharmacy Inc                     4,581.67                     0.00              4,581.67
  16          Kan-di-Ki, LLC                               19,305.49                      0.00             19,305.49
  18          MARIO ALVAREZ                                      0.00                     0.00                   0.00

                      Total to be paid for timely general unsecured claims:                 $             240,670.22
                      Remaining balance:                                                    $             221,305.56

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:




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  Claim    Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None

                   Total to be paid for tardily filed general unsecured claims:        $                    0.00
                   Remaining balance:                                                  $              221,305.56

            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $1,169.78 have been allowed and will be paid pro rata
    only after all allowed administrative, priority and general (unsecured) claims have been paid in full.
    The dividend for subordinated unsecured claims is anticipated to be 100.0 percent, plus interest (if
    applicable).
            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment
  1-5      Internal Revenue Service                      1,169.78                    0.00              1,169.78

                                            Total to be paid for subordinated claims: $                 1,169.78
                                            Remaining balance:                        $               220,135.78

            To the extent funds remain after payment in full of all allowed claims, interest will be paid at
    the legal rate of 0.12% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $1,257.82.
    The amounts proposed for payment to each claimant, listed above, shall be increased to include the
    applicable interest.
          The amount of surplus returned to the debtor after payment of all claims and interest is
    $218,877.96.



                                                Prepared By: /s/ Howard Ehrenberg
                                                                              Trustee
    Howard M. Ehrenberg
    333 South Grand Ave. Suite 3400
    Los Angeles, CA 90071
    (213) 626-2311




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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